Case 18-11276-reg Doc 1-1 Filed 07/11/18 Page 1 of 24

Fi|l in this information to identify your case:

Debtor1 FRED HEARD

Flrst Name Mlddle Name Lasl Name

Debtor 2 LlLA L HEARD

(Spouse, lt lillng) Flrst Name Mlddle Name Lasl Name

United States Bankruptcy Court for the: NORTHERN Distn'ctof lN

c b . . .
(|a:reowr)`r)n er l:] CheCk if fhlS_ IS an
amended filing

 

 

 

Official Form 107

Statement of Financial Affairs for individuals Filing for Bankruptcy 04/16

 

Be as complete and accurate as possible. |f two married people are filing together, both are equally responsible for supplying correct
information. |f more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Give Details About Your Marita| Status and Where You Lived Before

 

1. What is your current marital status?

ivlarrred
l:l Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

No
l:] Yes. List all of the places you lived in the last 3 years. Do not include where you iive now.

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1: Dates Debtor1 Debtor 2: l Dates Debtor 2
lived there lived there
l:] Same as Debtor 1 m Same as Debtor 1
From From
Number Streei Number Street
TO _ To
City State ZlP Code l City State ZlP Code
m Same as Debtor 1 ` m Same as Debtor 1
From From
Number Slreet Number Street
TO _______ To
Clty State ZlP Code Clty Siate ZlP Code

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, ldaho, Louisiana, Nevada, New l\/lexico, Puerto Rico, Texas, Washington, and Wisconsin.)

No
|:l Yes. l\/|ake sure you fill out Schedu/e H: Your Codebtors (Official Form 106H).

 

 

Official Form 107 Statement of Financial Atfairs for individuals Filing for Bankruptcy Page 1

 

 

Case 18-11276-reg Doc 1-1 Filed 07/11/18 Page 2 of 24

Case number (if known)

Debtor 1 FRED

Flrst Name Middle Name

HEARD

Last Name

Exp|ain the Sources of Your income

 

under Debtcr 1.

l:.i No
Yes. Fill in the details

Debtor 1

Sources of income
Checi< all that appiy,

Gross income

(before deductions and
exciusions)

Debtor 2

Sources of income
Check ali that apply.

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fiil in the total amount of income you received from all jobs and ali businesses, including part-time
activities if you are filing a joint case and you have income that you receive together, list it only once

Gross income

(before deductions and
exciusions)

 

 

From January 1 of current year m Wages, l:] Wages,
until the date you filed for commissions commissions
bankruptcy: bonuses, tips $ bonuses, tips $
L__| Operating a m Operating a
business business
For last calendar year: Wages, m Wages,
commissions, commissions,
(January 1 to December 31, 2017 ) bonuses, tips $ 47 395.00 bonuses, tips $
VYYY i:i Operating a m Operating a
business business
For the calendar year before that: Wages, |:] Wages,
commissions, commissions,
(Jal‘ii.laiy 1 iO DeC€lTibef 31, 2016 ) bonuses tips $ 33,725.00 bonuses‘ tips $
YYYY m Operating a m Operating a
business business

 

ij No
Yes. Fill in the details

Debtor1

Sources of income
Describe beiow.

5. Did you receive any other income during this year or the two previous calendar years?
include income regardless of whether that income is taxablel Examp|es of other income are alimony; child support; Social Security,
unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. if you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

Gross income from
each source

(before deductions and
exclusions)

 

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

Debtor 2

Sources of income
Describe below.

Gross income from
each source

(before deductions and
exciusions)

 

 

 

, SOC|AL SECURlTY
From January 1 of current year WORKMAN 8 COMF>' $ 15\700-00 $ _____Q,M
until the date you filed for ADOPTION
bankruptcy: - $ SUBS|DY $ M
___ $ $
SOCiAL SECURITY
For last calendar year: _" $ $ -_M
ADOPT|ON
(January 1 to December 31,&0(1\{7 ) _ $ my $ 19,044.00
__ $ _ s
$ SOC|AL SECURiTY $ 16 560 00
For the calendar year before that: _‘ ADOPT|ON ____-*-_'-
(January 1 to December 31, 2016 ) __ $ 3UBS]DY $ 19,044.00
YYYY ____”
$ $

 

Otficiai Form 107

Statement of Financial Affairs for individuals Filing for Bankruptcy

page 2

 

 

Case 18-11276-re& Doc 1-1 Filed 07/11/18
ARD C

Middie Name

Debtor 1 FRE[) ase numb r (if known

Firsi Name Lasi Name

List Certain Payments You i\/|ade Before You Filed for Bankruptcy

1. Are either Debtor1’s or Debtor 2’s debts primarily consumer debts?

“incurred by an individual primarily for a personal, family, or household purpose.”
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

l:i Ne. se to line 7.

i:l Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and
the total amount you paid that creditor. Do not include payments for domestic support obligations
such as child support and aiimony. Also, do not include payments to an attorney for this bankruptcy
case.

* Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment

Yes. Debtor1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

No. Go to line 7.

L__i Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid
that creditor. Do not include payments for domestic support obligations, such as child support and
alimony. A|so, do not include payments to an attorney for this bankruptcy case.

Dates of Tota| amount paid

payment

Amount you still owe

Pa e 3 0f)24

 

 

 

 

 

 

i:i No. Neither Debtor1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as

Was this payment for...

 

 

 

 

 

 

 

 

 

 

 

 

 

 

. $ $ t m i\/lortgage
Credltofs Name
l:l Car
Number street m Credit card
i:i Loan repayment
m Supp|iers or vendors
city state zlP code m Other
$ $ l:i l\/lortgage
l:l Car
Creditor's Name
L__i Credit card
Number Street m Loan repayment
m Supp|iers or vendors
i:i other
City State ZlP Code
$ $ |:l i\/|ortgage
l:i Car
Creditor’s Name
m Credit card
Number Street m Loan repayment
m Suppiiers or vendors
l:l other
City state zlP code

 

Official Form 107 Statement of Financial Af'fairs for individuals Filing for Bankruptcy

page 3

 

 

Case 18-11276-re Doc 1-1 Filed 07/11/18 Pa e.4 of 24
Debtor1 FRED j-| ARD Case numb r(tfknown)

First Name Niiddle Name Last Name

 

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
lnsiders include your relatives; any general partners; relatives of any general partners; partnerships ofwhich you are a general partner;
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any
managing agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. include payments for domestic
support obligations, such as child support and alimony.

No
l:l Yes. List ali payments to an insider.

 

 

 

 

 

 

 

Dates of Tota| amount l Amount you t Reason for this payment
payment paid , still owe
. $ $
lnslder’s Name
Number Street
City State ZlP Code
$ $

 

lnsider‘s Name

 

Number Street

 

 

City State ZlP Code

 

 

8. Within 'i year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
benefited an insider?

include payments on debts guaranteed or cosigned by an insider,
No
l:i Yes, List ali payments that benefited an insider.

Dates of Totai amount ` Amount you Reason for this payment

payment paid ` sun °we include creditors name

 

 

 

 

 

 

insiders Name $ $
Number Street
City State ZlP Code

$ $

 

lnsider’s Name

 

Number Street

 

 

 

 

City State ZlP Code

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 4

 

 

Debtor 1 FRED
First Name Middie Name

Case 18-11276-re%AR|BoC 1-1 Filed 07/11/1§a Pa)grem'§nof 24

own)

SS nU|'Ti

Last Name

identify Lega| Actions, Repossessions, and Forec|osures

modifications, and contract disputes

No
l:l Yes. Fill in the details

Nature of the case

Court or agency

 

 

 

 

 

9. Within 1 year before you filed for bankruptcy, were you a party in any |awsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody

Status of the case

 

 

Case number

 

 

 

 

City State

 

 

Check all that apply and fill in the details beiow.

Ne. cetolinett.
l:] Yes. Fiil in the information below.

Describe the property Date

 

 

Creditofs Name

 

 

 

 

Number Street

 

 

City State ZlP Code

Expiain what happened

l:] Property Was repossessed.

i:] Property was foreclosed

l:l Property Was garnished,

L__] Property was attached, seized, or levied.

Case title Court Name l:i Pendlng
l:l On appeal
Number street l:i Concluded
Case number
City State
Case title Court Name m Pendmg
i:i On appeal
Number Street m COnClUded

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or |evied?

Va|ue of the property

 

Describe the property Date

 

 

Creditol‘s Name

 

 

Number Street

 

 

 

 

City State Z|P Code

 

Exp|ain what happened

L__l Property was repossessed.

m Property was foreclosed

l:i Property was garnished.

l:l Property was attached, seized, or levied.

Va|ue of the property

 

Official Form 107

Statement of Financial Affairs for individuals Filing for Bankruptcy

page 5

 

 

Case 18-11276-re|_%AR|[I])00 1-1 Filed 07/11/1§ P e( 6 of 24

ase num r if known)

Debtor 1 FRED

Firsi Name Niiddle Name Last Name

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from
your accounts or refuse to make a payment because you owed a debt?

No
i:i Yes. Fill in the details

 

 

 

 

 

 

 

Describe the action the creditor took Date action was Amount
taken
Creditofs Name v
Number Street $
C"Y State Z‘P Code Last 4 digits of account number: XXXX~

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another officia|?

No
i:i Yes

- List certain cirte and contributions

13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

No
[:] Yes. Fill in the details for each gift.

 

 

 

 

 

 

 

 

 

 

 

Gifts with a total value of more than $600 Describe the gifts Dates you gave Va|ue
per person the gifts
Person to Whom You Gave the Gift $

$
Number Street
City State ZlP Code
Person’s relationship to you
Gifts with a total value of more than $600 Describe the gifts Dates you gave Va|ue
per person _ the gifts
Person to Whom You Gave the Gift $

$

 

 

Number Street

 

City State ZlP Code

 

 

 

Person’s relationship to you

 

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 6

 

Case 18-11276-reg Doc 1-1 Filed 07/11/18 Page 7 of 24
Debtor1 FRED HEARD Case number (if known)

Firsi Name Middie Name Last Name

 

 

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any

charity?
No
l:l Yes. Fill in the details for each gift or contribution.
Gifts or contributions to charities Describe what you contributed Date you Vaiue
that total more than $600 contributed
$

 

 

Charity’s Name

 

 

Number Street

 

City State ZlP Code

List Certain Losses

 

 

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

No
i:i Yes Fill in the details

Describe the property you lost and how Describe any insurance coverage for the loss Date of your Va|ue of property

the loss occurred _ _ , _ , loss lost
include the amount that insurance has pald. List pending insurance

claims on line 33 of Schedu/e A/B.' Property.

j Part 7: List Certain Payments or Transfers

 

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcyl

E No
Yes Fill in the details

 

Description and value of any property transferred Date payment or Amount of
FRED wEHRwElN f;‘;';,:ferwas payment

Person th Was Paid

1910 ST. JOE CENTER RD.. #52 CASH

 

 

 

 

Number Street 6/29/2018 $ 800.00
$

FORT WAYNE |N 46825

City State ZlP Code

WEHRWE|NPC@AOL.CO|V|

Emai| or website address

 

Perscn Who Made the Payment, if Not You

 

 

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 7

 

Case 18-11276-reg Doc 1-1 Filed 07/11/18 Page 8 of 24

 

 

Debtor 1 FRED HEARD Case number (if known)
First Name Middle Name Last Name
Description and value of any property transferred Date payment or Amount of payment

transfer was made

 

Person Who Was Paid

 

 

Number Street

 

 

City State ZlP Code

 

Emaii or websiie address

 

Person Who Made the Paymeni, if Not You

 

 

 

17.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised
to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

No
l:l Yes Fill in the details

Description and value of any property transferred Date payment or Amount of payment
transfer was made

 

 

 

 

 

 

Person Who Was Paid

Number Street $
l $

City State ZlP Code

 

 

 

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?

include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your

property). Do not include gifts and transfers that you have already listed on this statementl

No

i:i Yes Fill in the details

Description and value of property Describe any property or payments received Date transfer
transferred or debts paid in exchange was made

 

Person Who Received Transfer

 

 

Number Street

 

 

City State ZlP Code

 

Person’s relationship to you

 

 

Person Who Received Transfer

 

Number Street

 

 

City State ZlP Code

 

 

 

 

Person’s relationship to you

 

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 8

 

 

Case 18-11276-re Doc 1-1 Filed 07/11/18 P e_? of 24
l-%ARD Case num r(lf nown)

Debtor 1 FRED

First Name Middie Name Last Name

 

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self~settied trust or similar device of which you are a
beneficiary? (These are often called asset~protection devices.)

 

 

 

 

No
l:i Yes Fill in the details
Description and value of the property transferred Date transfer
was made
Name of trust
Part 8: List Certain Financial Accounts, instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
benefit, closed, soid, moved, or transferred?
include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

No
i:l Yes. Fill in the details
Last 4 digits of account Type of account or Date account was Last balance before

number instrument ciosed, soid, moved, closing or transfer
or transferred

 

Name of Financial institution

XXXX_ Checking $

 

Savings

 

Number Street
Money market

 

Brokerage
Other

 

l:ll:li:ll:ii:l

City State ZlP Code

 

Last 4 digits of account Type cf account or Date account was Last balance before
number instrument ciosed, so|d, moved, closing or transfer
or transferred

 

Name of Financial institution

XXXX_ Checking $

 

Savings

 

Number Street
Money market

 

< Brokerage

Other

 

|:l|]i:il:|l:i

City State ZlP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?
No
i:l Yes Fill in the details

 

 

 

 

 

 

 

 

Who else had access to it? Describe the contents Do you still
have it?
m No
Name of Financial institution Name m Yes
Number Street Number Street
City State ZlP Code
City State ZlP Code

 

 

 

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 9

 

 

Case 18-11276-reg Doc 1-1 Filed 07/11/18 Pa e 10 of 24
Debtor1 FRED HEARD Case num er (if known)

First Name Middle Name Last Name

 

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
No
i:i Yes Fill in the details

 

 

 

 

 

 

 

 

 

N fsl F 'l't m NO
ElmS 0 Ofa 6 acli
g y Name m YeS
Number Street
Number Street
City State ZlP Code
City State ZlP Code
Part 9: identify Property You Hoid or Controi for Someone Eise
23. Do you hold or control any property that someone else owns? include any property you borrowed from, are storing
for, or hold in trust for someone.
No
i:i Yes Fill in the details
Where is the property? Describe the property 4Va|ue

 

 

Owner’s Name Number Street

 

Number Street

 

 

City State ZlP Code

 

 

 

City State ZlP Code

 

Part 101 Give Detaiis About Environmental information

For the purpose of Part 10, the following definitions appiy:

l Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soii, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or materiai.

l Site means any iocation, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

l Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term.

Report ali notices, reieases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental iaw?

No
|Ii Yes Fill in the details

 

 

 

Name of Site ,
Governmenial unit

 

 

 

Number Street
Number Street

 

 

City State ZlP Code

 

City State ZlP Code

 

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 10

 

 

Case 18-11276-reg Doc 1-1 Filed 07/11/18 Pa e 11 of 24
Debtor1 FRED HEARD Case num er (if known)

First Name Middle Name Lasi Name

 

25. Have you notified any governmental unit of any release of hazardous material?
No
i:i Yes Fill in the details

 

 

 

 

 

 

 

 

Governmentai unit ` Environmental iaw, if you know it Date of notice
Name of Site Governmentai unit
Number Street Number Street

City State ZlP Code

 

City State ZlP Code

 

26. Have you been a party in any judicial or administrative proceeding under any environmental law? include settlements and orders.
No
[Ii Yes. Fill in the details

_ Status of the

 

 

 

 

 

 

 

 

Court or agency Nature of the case case
Case title . -
Court name m Pendlng
l:] On appeal
Number Street m Concluded
Case number City State ZlP Code
Part11: Give Detaiis About Your Business or Connections to Any Business

 

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
l:i A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
m A member of a limited liability company (LLC) or limited liability partnership (LLP)
l:i A partner in a partnership
[:i An officer, director, or managing executive of a corporation
i'_'_i

An owner of at least 5% of the voting or equity securities of a corporation

No. None of the above applies. Go to Part12.
Yes. Check ali that apply above and fill in the details below for each business.

|]H

Describe the nature of the business Empioyer identification number
Do not include Sociai Security number or lTiN.

 

 

Business Name

 

 

 

 

 

 

EiN: -
Number Street l
Name of accountant or bookkeeper i Dates business existed
From To
City State zlP code
Describe the nature of the business Empioyer identification number

; Do not include Sociai Security number or lTiN.

 

 

Business Name

 

 

 

 

EiN: ~
Number Street _
Name of accountant or bookkeeper Dates business existed
From To

 

 

 

City State ZlP Code

 

 

 

 

Official Form 107 l Statement of Financial Affairs for individuals Filing for Bankruptcy page 11

 

Case 18-11276-reg Doc 1-1 Filed 07/11/18 Page 12 of 24

 

 

 

 

 

 

 

 

 

Debtor 1 FRED HEARD Case number (if known)
Flrst Name Middle Name Last Name
Describe the nature of the business Empioyer identification number
Do not include Sociai Security number or lTiN.
Business Name
EiN: ~
Number Street
Name of accountant or bookkeeper Dates business existed
From To
City State ZlP Code

 

 

 

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include ali financial
institutions, creditors, or other parties.

No
i:i Yes. Fill in the details below.

Date issued

 

Name

MM/DD/YYYY

 

Number Street

 

 

City State ZlP Code

i have read the answers on this Statement of Financial Affairs and any attachments, and l declare under penalty of perjury that the
answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§152,1341,1519,and 357'1.
@` //// (;> HLQQA%L skid/01

Signature of Debtor1 Signature of Debtor 2

Xoate M 2 ')(Date‘ 1 '[Q "ZQ ii

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Officiai Form 107)?

No
[:] Yes

  

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

No

m Yes. Name of person . Attach the Bankruptcy Petit/'on Preparer's Notice, Declaration, and
Signature (Officiai Form 119).

 

 

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 12

 

Case 18-11276-reg Doc 1-1 Filed 07/11/18 Page 13 of 24

United States Bankruptcy Court

NORTHERN DiStriCt Of |N

In re FRED HEARD Case No.

 

Debtor Chapter 7

DISCLOSURE OF COMPENSATION ()F ATTORNEY FOR DEBTOR

l. Pursuant to ll U.S.C § 329(a) and Fed. Bankr. P. 2016(b), l certify that l am the attorney for the above-named
debtor(s) and that compensation paid to me Within one year before the filing of the petition in bankruptcy, or
agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation of or
in connection with the bankruptcy case is as follows:

For legal services, l have agreed to accept ......................................................... $ 800.00
Prior to the filing of this statement l have received ........................................... $ 800.00
Balance Due ....................................................................................................... $ 0.00

2. The source of the compensation paid to me was:
Debtor i:i Other (specify):

3. The source of compensation to bepaid to me is:
Debtor i___i Other (specify):

4. l have not agreed to share the above-disclosed compensation with any other person unless
they are members and associates of my law flrm.

i:l i have agreed to share the above-disclosed compensation with another person or persons who
are not members or associates of my law firm. A copy of the agreement together with a list of
the names of the people sharing in the compensation, is attached

5. in return for the above-disclosed fee, i have agreed to render legal service for all aspects of the
bankruptcy case, inciuding:

a. Ana|ysis of the debtor's financial situation, and rendering advice to the debtor in determining
whether to file a petition in bankruptcy;

b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
required;

c. Representatlon of the debtor at the meeting of creditors and confirmation hearing, and any
adjourned hearings thereof;

 

Case 18-11276-reg Doc 1-1 Filed 07/11/18 Page 14 of 24

32030 (Form 2030)(12/15)

DISCL()SURE OF COMPENSATION OF ATTORNEY FOR DEBTOR (Continued)

d. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

e. [Other provisions as needed]

6. By agreement With the debtor(s), the above-disclosed fee does not include the following services:

CHAPTER 7 CASES: REAFFIRMATION AGREEMENTS, STAYS OF PROCEEDINGS, LIEN AVOIDANCES &
SERVICES RENDERED AFTER THE lNlTlAL 341 MEETlNG OF CREDITORS.

 

 

CERTIFICATION

l certify that the foregoing is a complete statement of any agreement or arrangement for
payment to me for representation of the debtor(s) in this bankruptcy proceedings.

,.X ~/l ,(pD;el § x N//,/%Z/{%%Waa
§VQYLQL H\hisead

Signalere of Debtor, ‘Lila L. Hea)'d

 

 
      

 
 

f

 

-.aw,.~. ] \ 7 " <C / (&

bd

 

Signatzrre ofAttol‘)r éy, F\red Vi/e/i)'\vei)r FRED WEHRWEIN, P.C.

 

 

 

 

Case 18-11276-reg Doc 1-1 Filed 07/11/18 Page 15 of 24

Fill in this information to identify your case:

Debtor 1 FRED HEARD

Flrsi Name Mlddle Name Last Name

Debtor 2 LiLA L HEARD

(Spot.lse, if nling) Flrst Name Mlddie Name Last Name

United States Bankruptcy Court for the: NORTHERN Dislricl of iN

 

c b . . .
(|rfa:|eor&lrl]l)'n er l:l CheCk if fhlS_ |S an
amended flllng

 

 

Official Form 108
Statement of intentions for individuals Filing Under Chapter 7 12/15

if you are an individual filing under chapter 7, you must fill out this form if:
l creditors have claims secured by your property, or
l you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
if two married people are filing together in a joint case, both are equally responsible for supplying correct information.

Both debtors must sign and date the form.

Be as complete and accurate as possibie. if more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

-Liet Your creditors who Held secured claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Officiai Form 106D), fill in the
information beiow.

 

 

 

 

identify the creditor and the property that is collateral What do you intend to do with the property that Did you claim the
secures a debt? property as exempt on
Schedule C?

Creditor’s name: HOR|ZON BANK l:l Surrender the propertyl m NO
Deseriplion of 2015 cHEvY suBuRsAN m Retem me Property end redeem it' j Yee
property securing Retain the property and enter into a
debt Reaffirmation Agreemenf.

i:l Retain the property and [explain]:
Creditor’s name: OCWEN LOAN SERV' i:i Surrender the property, ['_‘] NO
Descriptlon of 6722 LAKElew cT., FoRT wAYNE, lN m Retain the Property and redeem i*- Yes
property securing Retain the property and enter into a
debt Reaffirmat/'on Agreement.

l:l Retain the property and [explain]:
Creditor’s name: PREM'ER AUTO |:l Surrender the property. j'_“| NO
Deserlptlen of 2008 olvlc TRucK m Retem me property end redeem “‘ Yes
property securing Retain the property and enter into a
debt Reaffirmation Agreement.

l:l Retain the property and [explain]:
Creditor’s name: U~S' DEPT~ OF HUD m Surrender the property. jj NO
Deeerlptlen di 6722 LAKElew cT., FoRT wAYNE, lN m Retem me Property end redeem it~ Yes
property securing Retain the property and enter into a
debt Reaffirmatl'on Agreementt

i:i

Retain the property and [explain]:

 

 

Official Form 108 Statement of intentions for individuals Filing Under Chapter 7 page 1

 

 

Case 18- 11276- reg Doc 1- 1 Filed 07/11/18 Page 16 of 24
Debtor1 FRED HEAR[) Case num er (if known

First Name Middie Name Last Name

List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Officiai Form 1066),
fill in the information beiow. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
ended. You may assume an unexpired personal property lease if the trustee does not assume it, 11 U.S.C. § 365(p)(2).

 

Describe your unexpired personal property leases Wili the lease be assumed?
Lessor’s name: [:] NO
i:l Yes

Description of
leased property:

 

Lessor’s name: \:l NO

. . l:l Yes
Descrlptlon of
leased property:

 

Lessor’s name: I:] NO

. . l:l Yes
Descrlptlon of
leased property:

 

Lessor’s name: l:l No

. . m Yes
Descrlptlon of
leased property:

 

 

 

Lessor’s name: |:| NO
. . l:l Yes
Descrlptlon of
leased property:
Lessor’s name: l:| NO
. . l:l Yes
Descrlptlon of
leased property:
Lessor’s name: [] NO
L__l Yes

Description of
leased property:

Under penalty of perjury, l declare that i have indicated my intention about any property of my estate that secures a debt and any
personal property that is subject to an unexpired iease.

///% % @ mierle fitted

Signature of Debtor1 Sign\a{ire of Debtor 2

' §§ V/% f mbe egge[€
)< Date l >{ DateC)L7 MM/DD YYYY

iOfficial Form 108 Statement of intentions for individuals Filing Under Chapter 7 page 2

 

 

 

 

 

 

 

Case 18-11276-reg Doc 1-1 Filed 07/11/18 Page 17 of 24

uNlrEl:) srArEs sAr\ll<auPrcY collar
NoRrHER DlsrRlcr ol= ll\lolAN/\
Fol=zr WAYNE olvlsloN

lN RE:

lease »HEA\`<'\>

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)

Lll~/~t l_. l-lEe'RD
)<)<><- ><><'- Oo;;l“"r

DEBTOR (S)
VERll-'lCATiON OF CREDlTOR l\/iATRiX
The above named debtor (s) hereby verifles under penalty of perjury that .

the attached list of creditors is true and correct to the best of the knowledge

and belief of the debtor (s).

 
  

Date: 2§' l‘{l»'iQ '~ \<g . l t bt
' de or
' )< l?<e@rlfi>\ta@l

dein center

 

Case 18-11276-reg Doc 1-1

lST SOURCE BANK/§l. JOHNS ON
4100 EDlSON LK. PKWY., STE. 100
MISHAWAKA, lN 46545

ALLEN CO. CARDIOLOGY
604 W. BERRY ST.
FORT WAYNE, lN 46802

ALLY FIN.
P.O. BOX 130424
RGSEVILLE, MN 5 5113

AMERICAN AGENCIES
2491 PAXTON ST.
HARRISBURG, PA 17111

AMERICOLLECT, INC.
P.O. BOX 1505
MANITOWOC, Wl 54221

AMERICOLLECT, lNC.
P.O. BOX 1690
l\/IANITOWOC, WI 54221

APRIA HEALTHCARE
P.O. BOX 802017
CHlCAGO, IL 60680

ASSOC. ANES./SNOW & SAUERTEIG
203 E. BERRY ST., STE. 1100
FORT WAYNE, IN 46802

CAPITAL ONE/AMER. INFOSOURCE
P.O. BOX 71083
CHARLOTTE, NC 28272

CITY GF FORT WAYNE
200 E. BERRY ST., STE. 130
FORT WAYNE, IN 46802

Filed 07/11/18 Page 18 of 24

 

Case 18-11276-reg Doc 1-1

CREDIT ONE/LVNV/FNBl\/l, LLC
P.O.BOX10587
GREENVILLE, SC 29603

DEUTSCHE BK./OCWEN LOAN SERV
BK DEPT. P.O. BOX 24605
W. PALM BCH., FL 33416

DR. HECTOR PEREZ
5717 S. ANTHONY, STE. 500
FORT WAYNE, lN 46806

DUPONT HOSPITAL/LUTHERAN HEALTH
15682 COLLECT CTR.
CHICAGO, IL 60693

FlNGERHUT/SADINO FUNDING
P.O. BOX 788
KIRKLAND, WA 98083

FORT WAYNE ORTHO
7601 W. JEFFERSON
FORT WAYNE, IN 46804

FW RADIOLOGY
P.O. BOX 371863
PITTSBURGH, PA 15250

HORIZON BANK/LADERER & FIS CHER
401 E. COLFAX AVE.

STE. 305

SOUTH BEND, IN 46617

HO SPITAL CARE GRP.
6435 W. JEFFERSON
FORT WAYNE, IN 46825

lRS

230 S. DEARBORN ST.
RM. 2560, 5015 CHl
CHICAGO, IL 60604

Filed 07/11/18

Page 19 of 24

 

Case 18-11276-reg Doc 1-1

JPMORGAN CHASE/BK DEPT.
P.O. BOX 29505 Ale-1191
PHOENIX, AZ 85038

LOANME, INC./WEINSTEIN & RILEY
2001 WESTERN AVE., STE. 400
SEATTLE, WA 98121

LUTHERAN HEALTH
15673 COLLECT. CTR.
CHICAGO,IL 60693

MARQUEZ AUTO/ADAM HAND
201 W. WAYNE ST.
FORT WAYNE, IN 46802

MIRA l\/IED. REV. GRP.
DEPT. 77304 P.O. BOX 77000
DETROIT, Ml 48277

MONT. FIN. SERV./MERCH. CRED. SOL.
P.O. BOX 3664
TUSTIN, CA 92781

NE OTHALMOLOGY
3301 LAKE AVE.
FORT WAYNE, IN 46805

OCWEN LOAN SERV.
BK. DEPT. P.O. BOX 24605
W. PALM BCH., FL 33416

ORTHO NE
P.O.BOX11782
FORT WAYNE, IN 46860

ORTHO NE/SNOW & SAUERTEIG
203 E. BERRY ST., STE. 1100
FORT WAYNE, IN 46802

Filed 07/11/18

Page 20 of 24

 

Case 18-11276-reg Doc 1-1

PARKVIEW HEALTH
P.O.BOX10416
DES MOINES, IA 50306

PARKVIEW PHYS. GRP./MSCB
P.O. BOX 1567
PARIS, TN 38242

PARKVIEW/AMER. lNFOSOURCE
P.O. BOX 248838
OKLAHOl\/IA CITY, OK 73124

PREl\/IIER AUTO
1304 918 S. ANTHONY
FORT WAYNE, IN 46803

PROF. EMERG. PHYS.
3640 NEW VISION DR., STE. A
FORT WAYNE, IN 46845

PROF. RECGVERY
7319 W. JEFFERS ON
FORT WAYNE, IN 46804

SELKING INT.
1850 W. HWY. 224
DECATUR, IN 46733

SNOW & SAUERTEIG
203 E. BERRY ST., STE. 1100
FORT WAYNE, IN 46802

ST. JOE HEALTH/PASI
P.O. BOX 188
BRENTWOOD, TN 37024

SUMMlT RADIOLOGY/SNOW & SAUERTEIG
203 E. BERRY ST., STE. 1100
FORT WAYNE, IN 46802

Filed 07/11/18

Page 21 of 24

 

Case 18-11276-reg Doc 1-1

TMOBILE/Al\/IER. INFOSOURCE
P.O. BOX 248848
OKLAHOMA CITY, OK 73124

TRAA
P.O.BOX11724
FORT WAYNE, lN 46860

TRUE HEALTH DIAGNOSTICS
6170 RESEARCH RD.
FRISCO, TX 75033

U.S. DEPT. OF HUD
451 7TH ST. SW
WASHINGTON, DC 20410

VAP DIAGNOSTICS LAB, INC.
P.O. BOX 830674
BIRl\/HNGHAM, AL 35283

WELLMARK
P.O. BOX 9232
DES MOINES, lA 50306

Filed 07/11/18

Page 22 of 24

 

Case 18-11276-reg Doc 1-1 Filed 07/11/18 Page 23 of 2a

 
         
  
    
     
   
   

Check one box only as directed in this form and in
Form 122/‘\-1Supp:

Fill in this information to identify your case:

Debtor 1 :§:;D Middie Name H EI/?:iamueb
Debtor2 L l L’A L» ¢ {:l E~P\P~D

 
 
  

511 There is no presumption of abuse.

l:i 2. The calculation to determine if a presumption of
abuse applies will be made under Chapter 7
Means Test Calculation (Officiai Form 122A-2).

(SpOLiSe, if flilng) Flrst Name Middie Name LastName

United Slaies Bankruptcy Court for the: Northern District of indiana

l;i 3. The Means Test does not apply now because of

Case number
qualified military service but lt could apply |aier.

(if known)

 

 

 

 

l;l Check if this ls an amended filing

Official Form 122A--1
Chapter 7 Statement of Your Current Monthly income 12/15

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for being accurate. if more
space is needed, attach a separate sheet to this form. include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). if you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of

Abuse Under§ 707(b)(2) (Officiai Form 122A-1Supp) with this form.

m Calculate Your Current Monthiy income

1, What is your marital and filing status? Check one oniy.

C| Not married. l=ill out column A, lines 2-11.
llliarried and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

 

 

[] Married and your spouse is NOT filing with you. You and your spouse are:
i;l Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

m Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
spouse are living apart for reasons that do not include evading the Means Test requirements 11 U.S.C. § 707(b)(7)(B).

Fill in the average monthly income that you received from ali sources, derived during the 6 full months before you file this
bankruptcy case, 11 U.S.C. § 101(10A). For example, if you are filing on September15, the 6-month period would be i\/larch 1 through
August 31. lf the amount of your monthly income varied during the 6 months, add the income for ali 6 months and divide the total by 6.
Fill in the resuit. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
income from that property in one column only. if you have nothing to report for any linel write $0 in the space.

Column A Column B
Debtor1 1 Debtor 2 or
non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions
(before all payroll deductions). $____ $

3. Aiimony and maintenance payments. Do not include payments from a spouse if
column eis nlled in. $______ $

4. All amounts from any source which are regularly paid for household expenses
of you or your dependents, including child support. include regular contributions
from an unmarried partner, members of your househoid, your dependents, parents,
and roommates. include regular contributions from a spouse only if Column B is not
Gl|ed in. Do not include payments you listed on line 3. $__.___ 3

5. ;i::;lnnc;ome from operating a business, profession, Debtor1 Debtor 2

 

 

 

 

 

Gross receipts (before all deductions) $ $
Ordinary and necessary operating expenses - $ - $
. . . Copy

Net monthly income from a business, profession, or farm $ $ here_) $ $
6. Net income from rental and other real property Debtor1 Debtor 2

Gross receipts (before all deductions) $

Ordinary and necessary operating expenses - $ - $

Net monthly income from rental or other real property $ $ :;’r*;y,z $ $
7. lnterest, dividends, and royalties $

 

 

Official Form 122A~1 Chapter 7 Statement of Your Current ivlonthiy income page 1

 

 

Case 18-11276-reg Doc 1-1 Filed 07/11/18 Page 24 of 24

 

 

Debtor1 ~ Case number (ir/<nown)
FirstName Middie Name LastName
Column A Column B
Debtor1 Debtor 2 or
non-filing spouse
8. Unemployment compensation $ $ l

Do not enter the amount if you contend that the amount received was a beneflt
under the Sociai Security Act. lnstead, list it here: ...............................

For you .................................................................................. $
For your spouse ................................................................... $

9. Pension or retirement income. Do not include any amount received that was a
benefit under the Sociai Security Act. $ $

10. income from ali other sources not listed above. Specify the source and amount
Do not include any benents received under the Sociai Security Act or payments received
as a victim of a war crime, a crime against humanity, or international or domestic
terrorism. if necessary, list other sources on a separate page and put the total beiow.

weems-esi dictate $_§3_;3_© $ §
.~…i;"r“ra: w x r s a a t 7 e’j?

 
   

 

Totai amounts from separate pages, if any. + 3 + $
11 . Calcuiate your total current monthly income. Add lines 2 through 10 for each + _ w
column. Then add the total for Column A to the total for Column B. $ $ _ $ § §§ jj

 

 

 

 

 

 

 

Totai current
monthly income

m Determine Whether the Means Test Applies to You

12. Calcuiate your current monthly income for the year. Follow these steps:

12a. Copy yourtotal current monthly income from line 11. ....................................... copy line 11 here-)

   

i\/iultiply by 12 (the number of months in a year).

 

12b. The result is your annual income for this part of the form.

13. Calcuiate the median family income that applies to you. Foilow these steps:

Fill in the state in whloh you live. j AZ' l

Fill in the number of people in your househo|d. §

Fill in the median family income for your state and size of househo|d. ............................................................................................. 13. q 2 , 2 f § 5

To find a list of app 'eabie median income amounts, go onllne using the link specified in the separate
instructions for s form. This list may also be available at the bankruptcy clerk’s office.

14. How'dot

 

 

 

 

 

 

 

 

    
 

lines compare?

Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
Go lo Part 3.

14b. m Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A~2.
Go to Part 3 and fill out Form 122A-2.

 

m Sign Beiow

By signing here, l declare under penalty of perjury that the information on this stateme tand in any atta\h:::s; and correct.

®%’%//%/%%J% @ eta/re

Sl£alure of Debtor1 Signetefre of Debtor 2

)<Date ygé¢é;é )<Dale(;/l O(O long
M /D /YYYY MlVl/DD /YYYY

if you checked line 14a, do NOT fill out orhle Form 122A-2.
if you checked line 14b, iii out Form 122A~2 and tile lt with this form.

 

 

 

Official Form 122A-1 Chapter 7 Statement of Your Current iVionthly income page 2

 

 

